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                                                              7
                                                                                              UNITED STATES DISTRICT COURT
                                                              8
                                                                                                     DISTRICT OF NEVADA
                                                              9
                                                                    PROCAPS LABORATORIES, INC., a                     Case No. 2:21-cv-02016-JAD-BNW
                                                             10     Nevada Corporation,
                                                                                          Plaintiff,
                                                             11     v.
                                                                                                                      STIPULATION AND ORDER FOR
                     3030 South Jones Boulevard, Suite 101




                                                             12     GH EXPRESS CALI INC., a foreign                   LEAVE FOR PLAINTIFF TO FILE AN
                                                                    corporation; DOES 1 through 10, inclusive;        AMENDED COMPLAINT
                           Las Vegas, Nevada 89146
GREENE INFUSO, LLP




                                                             13     and ROES 1 through 10, inclusive,
                                (702) 570-6000




                                                             14                               Defendants.
                                                                    ___________________________________
                                                             15
                                                                    GH EXPRESS CALI, INC.
                                                             16
                                                                                               Counterclaimant,
                                                             17
                                                                    v.
                                                             18
                                                                    PROCAPS LABORATORIES, INC.
                                                             19                     Counter Defendant.

                                                             20
                                                                                        STIPULATION AND ORDER FOR LEAVE
                                                             21                    FOR PLAINTIFF TO FILE AN AMENDED COMPLAINT

                                                             22
                                                                          IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff PROCAPS
                                                             23
                                                                  LABORATORIES, INC. (“Plaintiff”) and Defendant GH EXPRESS CALI. (“Defendant”), by
                                                             24
                                                                  and through their respective undersigned counsel of record, as follows:
                                                             25
                                                                          WHEREAS, Plaintiff commenced this action by filing its Complaint on November 8,
                                                             26
                                                                  2021;
                                                             27
                                                                          WHEREAS, Defendant filed its Answer and Counterclaim on March 21, 2022;
                                                             28

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                                                              1          WHEREAS, Defendant refiled its Answer and Counterclaim on March 24, 2022;

                                                              2          WHEREAS, Plaintiff filed its Answer to Defendant’s Counterclaim on April 11, 2022;

                                                              3          WHEREAS, the deadline to amend the pleadings and add parties is June 22, 2022;

                                                              4          WHEREAS, Plaintiff seeks to add Manjinder Kaur dba GH Express as a Defendant to this

                                                              5   action; and

                                                              6          WHEREAS, Plaintiff and Defendant stipulate and agree that Plaintiff may amend its

                                                              7   Complaint to identify Manjinder Kaur dba GH Express as an additional Defendant.

                                                              8          Accordingly, the parties request that the Plaintiff be allowed to file a First Amended

                                                              9   Complaint on or before June 22, 2022.

                                                             10          IT IS SO STIPULATED.

                                                             11
                                                                    Dated this 22 day of June 2022.                    Dated this 22 day of June 2022.
                     3030 South Jones Boulevard, Suite 101




                                                             12
                                                                    GREENE INFUSO, LLP                                 AJS LEGAL
                           Las Vegas, Nevada 89146
GREENE INFUSO, LLP




                                                             13
                                (702) 570-6000




                                                             14     /s/ MICHAEL V INFUSO                               AMY J. SMITH, ESQ.
                                                                    MICHAEL V. INFUSO, ESQ.                            Nevada Bar No. 14954
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                                                             16     Las Vegas, NV 89146                                Henderson, NV 89014
                                                                    Attorneys for Plaintiff
                                                             17     PROCAPS LABORATORIES, INC.                         THE REICH LAW FIRM

                                                             18
                                                                                                                       /s/ Jeff Reich
                                                             19                                                        Jeff Reich
                                                                                                                       Cal. Bar No. 067250
                                                             20                                                        8441 N. Millbrook, Ste. 104
                                                                                                                       Fresno, CA 93720
                                                             21
                                                                                                                       Attorneys for Defendant
                                                             22                                                        GH Express Cali Inc.

                                                             23
                                                                                                        ORDER
                                                             24                                   IT IS SO ORDERED
                                                             25                                   DATED: 4:19 pm, June 23, 2022
                                                             26
                                                             27
                                                                                                  BRENDA WEKSLER
                                                             28                                   UNITED STATES MAGISTRATE JUDGE

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